                     Case 4:08-cr-00314-SWW Document 229 Filed 10/20/10 Page 1 of 1
O AO 245A (Rev. 12/03) Judgment of Acquittal



                                     UNITED STATES DISTRICT COURT
                         EASTERN                DISTRICT OF                      ARKANSAS

          UNITED STATES OF AMERICA
                                                           JUDGMENT OF ACQUITTAL
                              V.

                    JESUS MURILLO
                                                           CASE NUMBER: 4:08CR00314-003 SWW




      The trial in this matter began October 12, 2010. The jury returned a verdict of not guilty for the above-
named Defendant October 18, 2010.
      IT IS ORDERED that the Defendant is acquitted, discharged, and any bond exonerated.




/s/Susan Webber Wright
Signature of Judge

U. S. District Judge Susan Webber Wright
Name and Title of Judge

                         October 20, 2010
                                   Date
